                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                 DOCKET NO. 3:13CR112-MOC


UNITED STATES OF AMERICA,           )
                                    )
       Plaintiff,                   )
                                    )                   FINAL ORDER AND JUDGMENT
                  v.                )                     CONFIRMING FORFEITURE
                                    )
(1) OBIE LAMONT CHAMBERS,           )
                                    )
       Defendant.                   )
___________________________________ )



       On June 13, 2013, this Court entered a Consent Order and Judgment of Forfeiture (Doc.

36), which is a preliminary order for purposes of Fed. R. Crim. P. 32.2.      On February 24, 2014,

the Court entered an Order (Doc. 68) pursuant to Rule 32.2(c), based upon a settlement and

stipulations between the government and a third-party petitioner, amending the Consent Order to

provide for the forfeiture of $3,544.00 in seized currency, which is a part of the original

$8,860.00 that was seized and forfeited preliminarily.

       The government also represents that it has released the vehicle listed in the Consent

Order for insufficient net equity value.

       On February 19, 2014 through March 20, 2014, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from February 19, 2014 for a hearing to adjudicate the validity of any

alleged legal interest in the property.    It appears from the record that, except for the petition




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settled and approved by the Court’s Order of February 24, 2014, (Doc. 68), no other petitions

have been filed.

       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Consent Order and Judgment of Forfeiture, as

amended, is confirmed as final.      All right, title, and interest in the following property has

therefore been forfeited to the United States for disposition according to law:

       The sum of $3,544.00 in United States currency.




       Signed: July 9, 2014




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